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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

GRADUATION SOLUTIONS LLC,                            )
                                                     )
        Plaintiff,                                   )
                                                     )        Case No. 17-cv-1342 (VLB)
v.                                                   )
                                                     )
ACADIMA, LLC and ALEXANDER                           )
LOUKAIDES,                                           )
                                                     )
        Defendants.                                  )

              MOTION FOR ADMISSION OF ADAM J. SIMON, PRO HAC VICE

        Pursuant to L. Civ. R. 83.1(d), Defendant Alexander Loukaides, through the undersigned

counsel, respectfully moves for the admission of Adam J. Simon to this Court pro hac vice.

Defendant Loukaides represents that Mr. Simon is in the process familiarizing himself with the

issues that will be litigated in this action and that the admission of Mr. Simon will not require

modification of any existing scheduling orders or deadlines, although Mr. Simon does respectfully

submit that a continuance of the trial date in this matter is in the best interest of justice as further

explained in Defendant Loukaides’ Motion for a Continuance that is submitted contemporaneously

herewith. 1

        In support of this Motion, Defendant Loukaides states the following:

        1.       Adam J. Simon is an attorney at the law firm Dowd Bennett LLP.

        2.       Mr. Simon’s office address is 7733 Forsyth Blvd., Suite 1900, St. Louis, MO



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  If admitted, Mr. Simon intends to file a motion for extension of time to extend the date for the joint pretrial
memorandum and to continue the trial date. As stated in that motion, the purpose of that extension would be to allow
for additional discovery and to allow Mr. Simon and his firm to get fully up to speed on the complex issues and
complex claims asserted against Defendant Loukaides. Regardless of the Court’s ruling on that motion for extension,
Mr. Loukaides, myself, and Mr. Simon’s firm agree that Mr. Simon’s firm would act as lead trial counsel in this
matter.
                                                         1
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63105. His telephone number is 314-889-7300. His fax number is 314-863-2111. His email

address is asimon@dowdbennett.com

        3.     Mr. Simon is a member, in good standing, of the bar of the state of Missouri (Bar

# 68396), the United States District Court for the Eastern District of Missouri, and the

United States District Court for the Western District of Wisconsin.

        4.     Mr. Simon has no pending disciplinary complaints as to which a finding has been

made that such complaint should proceed to a hearing, nor any disciplinary complaints of any

kind.

        5.     Mr. Simon has not been denied admission to, been disciplined by, resigned from,

surrendered a license to practice before, or withdrawn an application for admission to practice

while facing a disciplinary complaint before this Court or any other court.

        6.     The undersigned is advised that Mr. Simon has fully reviewed and is familiar with

the Federal Rules of Civil Procedure, the applicable Local Civil Rules of the United States

District Court for the District of Connecticut, and the Connecticut Rules of Professional

Conduct.

        7.     Mr. Simon, pursuant to L. Civ. R. 83.1(d)(1), designates the undersigned, Jeffrey

S. Bagnell, as the attorney sponsoring his application pro hac vice, as his agent for service of

process and the District of Connecticut as the forum for the resolution of any dispute arising out

of his admission to this Court.

        8.     In further support of this Motion, Defendant attaches hereto the Affidavit of

Adam J. Simon and represents that a Certificate of Good Standing from the state of Missouri will

be filed promptly after this motion is granted.

        WHEREFORE, Defendant respectfully requests that the Court grant this motion for
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admission of Adam J. Simon pro hac vice.



Dated: April 12, 2019                      Respectfully submitted,

                                                  BAGNELL LAW

                                                  By: _/s/ Jeffrey S. Bagnell________
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                                                  jeff@bagnell-law.com


                                                  Attorney for Defendant
                                                  Alexander Loukaides




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